                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN


DAMIEN HEWLETT,

             Plaintiff,

      v.                                        Case No. 24CV0377

JUSTIN THOMSEN, BRANDON FISCHER,
TANNER LEOPOLD, LOGAN GOEHL,
AND BRIDGETT PROSPER,

             Defendants.


      DEFENDANTS MOTION IN SUPPORT OF PARTIAL SUMMARY
          JUDGMENT BASED ON EXHAUSTION GROUNDS


      Defendants, by their attorneys, Wisconsin Attorney General Joshua L. Kaul

and Assistant Attorneys General Brandon Flugaur and Mmeli Obi, hereby move the

Court, pursuant to Fed. R. Civ. P. 56, for an order of partial summary judgment.

      The grounds for this motion are set forth in the accompanying Defendants’

Brief in Support of their Motion for Partial Summary Judgment on Exhaustion

Grounds, Defendants’ Proposed Findings of Fact, Declaration of Brian Kolb and

accompanying exhibits. Plaintiff is notified that this motion is based on Fed. R. Civ.

P. 56, a copy of which is attached to this motion. In addition, accompanying this

motion is a copy of Civil L. R. 7 and Civil L. R. 56.

      Plaintiff is further notified that declarations and any other documents

accompanying this motion are incorporated by reference herein. Any factual assertion

in the declarations (and other admissible proof) submitted or referred to in support



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of Defendant’s motion will be accepted by the judge as true unless you submit

affidavits or declarations or other admissible documentary evidence contradicting

such assertion. Failure to oppose Defendant’s declarations (or other admissible proof)

with your own affidavits or declarations (or other admissible proof) may result in

entry of judgment against you.

      Dated August 9, 2024.

                                       Respectfully submitted,

                                       JOSHUA L. KAUL
                                       Attorney General of Wisconsin

                                       s/ Mmeli Obi
                                       MMELI OBI
                                       Assistant Attorney General
                                       State Bar #1121108

                                       BRANDON T. FLUGAUR
                                       Assistant Attorney General
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